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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

____________________________________
UNITED STATES OF AMERICA,            )
                                     )
            Plaintiff,               )
                                     )
      v.                             )                  Criminal Action No. 23-mj-00274-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )


                                             ORDER

       At Wilmington this 21st day of June 2023, having been advised by counsel that the

defendant intends to enter a plea of guilty to the Information,

       IT IS ORDERED that a combined initial appearance and plea hearing is scheduled for

Wednesday, July 26, 2023 at 10:00 AM in Courtroom 4A, J. Caleb Boggs Federal Building,

844 N. King Street, Wilmington, Delaware.




                                                              ______________
                                              UNITED STATES DISTRICT JUDGE
